
75 N.Y.2d 850 (1990)
In the Matter of Richard Flowers et al., Appellants,
v.
James Sullivan et al., Respondents. (Proceeding No. 1.)
In the Matter of Richard Flowers et al., Appellants,
v.
James Sullivan et al., Respondents. (Proceeding No. 2.)
Court of Appeals of the State of New York.
Submitted October 2, 1989.
Decided February 15, 1990.
On the court's own motion, appeal, insofar as taken by petitioners Flowers and Jefferson, dismissed, without costs, upon the ground that the issues raised on the appeal have become moot as to them. Motion for assignment of new counsel granted only to the extent that present counsel is relieved of her assignment.
